                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                 CHARLESTON DIVISION

                                                      )
 IN RE: AQUEOUS FILM-FORMING                          )   MDL No. 2:18-mn-2873-RMG
 FOAMS PRODUCTS LIABILITY                             )
 LITIGATION                                           )   ORDER
                                                      )
                                                      )   This Order Relates to
                                                      )   City of Stuart, Fl. v. 3M Co., et al.,
                                                      )   Case No. 2:18-cv-3487-RMG
                                                      )
                                                      )

        The first bellwether trial in the AFFF Multi-District Litigation, City of Stuart, Florida v.

3M Company, was scheduled for trial to commence this morning, June 5, 2023. In the weeks

preceding this trial date, counsel for the Plaintiff and counsel for 3M Company have been in serious

settlement discussions to reach a global resolution of the claims of the water district plaintiffs

pending against 3M. The parties informed the Court last evening that they have reached a stage

in those discussions where they believe a final binding agreement is achievable in the near future

and that they believe their time could be more effectively spent finalizing the agreement and

obtaining the necessary approvals rather than commencing the trial of this case. To that end, the

parties have filed with the Court a joint motion to continue this case.

        After an extensive discussion with counsel last evening and consultation with the

outstanding court appointed mediator in this case, retired United States District Judge Layn R.

Phillips, the Court is firmly persuaded that a continuance of this trial to afford the parties the

opportunity to finalize a global resolution of the water district cases in the MDL is in the interest

of all of the parties to this litigation and is in the interest of justice.
        Counsel are directed to provide the Court a weekly update with a final report no later than

21 days from the date of this order. If a binding agreement regarding the water district cases is not

accomplished within this 21 day period, the Court will promptly reschedule this case for trial with

no further continuances to be granted.

        Based upon the foregoing, the Court hereby grants the parties’ joint motion to continue this

case.

        AND IT IS SO ORDERED.



                                                              s/Richard Mark Gergel
                                                              Richard Mark Gergel
                                                              United States District Judge



June 5, 2023
Charleston, South Carolina
